      Feb 08 2023




3:23mj13
               d.      In the living room/kitchen area- cocaine, marijuana. a vacuum sealer, a

cash counter, a card scanner and zip-lock bags;

               e. In the Kitchen- a Glock model 22 .40 caliber semi-automatic pistol, 14 rounds

.40 caliber ammunition, assorted ammunition, and a Gas Bag sign;

               f.      In the Kitchen/laundry room area - $5120 in U.S. currency, and vacuum

sealed baggies;

               g.      In the front closet - ground-up mushrooms, 4.66 pounds of marijuana,

numerous suitcases.

               h.      From the person of Khaliq Hall - several pills containing Oxycodone, and

$525.

        16.    According to records from the Virginia Employment Commission, Khaliq Hall

has had no legitimate source of income during the relevant period of time.

        17.    I know from my training and experience that these quantities of marijuana by

themselves, but also when coupled with packaging material, digital scales, large sums of

United States currency and firearms, are indicative of distribution, not with personal use.




                                                  eyD. Ward
                                             Task Force Officer, ATF
    Sworn and attested to me by the affiant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
    telephone on February 8, 2023.




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